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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION
                                 Case No. ___________________


  MARIANNE JOFFE, DEBBE SCHERTZER,
  and STEPHANIE RODRIGUEZ, individually and
  on behalf of all others similarly situated,

         Plaintiffs,                                            CLASS ACTION

  v.

  GEICO INDEMNITY INSURANCE COMPANY,
  GOVERNMENT EMPLOYEES INSURANCE
  COMPANY, and GEICO GENERAL INSURANCE
  COMPANY,

         Defendants.

  ____________________________________/

               PLAINTIFFS MARIANNE JOFFE, DEBBE SHERTZER, AND
             STEPHANIE RODRIGUEZ’S CLASS ACTION COMPLAINT FOR
           DAMAGES, INJUNCTIVE RELIEF, AND DEMAND FOR JURY TRIAL

         PLAINTIFFS MARIANNE JOFFE (“Joffe”), DEBBE SCHERTZER (“Schertzer”) (f/k/a

  Debbe Faunce), and STEPHANIE RODRIGUEZ (“Rodriguez”) (collectively, “Plaintiffs”),

  individually and on behalf of all others similarly situated, file this Class Action Complaint against

  GEICO Indemnity Company (“GEICO Indemnity”), Government Employees Insurance Company,

  and GEICO General Insurance Company (“GEICO General”) (collectively, “Defendants”), and

  assert upon personal knowledge as to their own acts and status, and upon information and belief

  as to all other matters, the following allegations:
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                                I.      NATURE OF THE ACTION

                                                 1.

         This is a Class Action lawsuit by Plaintiffs Joffe, Schertzer, and Rodriguez, who insured

  their leased vehicles under GEICO Indemnity’s, Government Employees Insurance Company’s,

  and GEICO General’s private passenger auto (“PPA”) insurance policies (the “Policies”)

  providing coverage for PPA physical damage.

                                                      2.

         The allegations in this lawsuit are similar to the allegations, and include the same legal

  issues, raised in Roth v. GEICO General Insurance Company, Case No. 16-CV-62942-WPD,

  United States District Court for the Southern District of Florida, Fort Lauderdale Division. In

  Roth, the Court certified a class of leased vehicle insureds with total losses occurring during the

  five year period before the August 30, 2016 filing of that lawsuit, and granted summary judgment

  in favor of plaintiff and the class and against GEICO General. The present claims against GEICO

  General are only for the period after August 30, 2016 (which claims are not included in the Roth

  lawsuit). The claims in this lawsuit against GEICO Indemnity and Government Employees

  Insurance Company are for the period five years before the filing of this lawsuit through and

  including the date that a class is certified for insureds of those Defendants.

                                                 3.

         Defendants are affiliated insurance companies that utilize the same insurance policy forms,

  provide the same coverages, and adjust total loss claims with the same practices and procedures.

                                                 4.

         The insurance policies at issue in this lawsuit are form policies known as form A-30FL

  (03-11), attached as Exhibit A, and form A-70 FL (03-11), attached as Exhibit B (together, the


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  “Policies” or “Policy”). These two form policies (Exhibits A and B) are materially identical in all

  respects relevant to this lawsuit. All Policy terms that are relevant to this lawsuit are contained in

  these two policy forms.

                                                 5.

         The GEICO Indemnity policy form covering Plaintiff Joffe’s total loss leased vehicle was

  either a form A-30FL (03-11) (Exhibit A) or form A-70 FL (03-11) (Exhibit B).

                                                 6.

         The GEICO General policy form covering Plaintiff Rodriguez’s total loss leased vehicle

  was either a form A-30FL (03-11) (Exhibit A) or form A-70 FL (03-11) (Exhibit B).

                                                 7.

         The Government Employees Insurance Company’s policy form covering Plaintiff

  Schertzer’s total loss leased vehicle for PPA physical damage is form A-30FL (03-11) (Exhibit

  A).

                                                 8.

         The Policies require payment of Actual Cash Value (“ACV”) on first-party total loss

  physical damage claims.

                                                 9.

         The Policies define ACV as “the replacement cost of the auto or property less depreciation

  or betterment.” (Ex. A, Policy form, at 12) (Ex. B, Policy form, at 13) (original emphasis removed;

  new emphasis added.)

                                                 10.

         Under Flordia law, sales tax is a mandatory fee involved with the purchase of any vehicle,

  and therefore part of the replacement cost of any vehicle. Defendants pay sales tax on first-party


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  total loss PPA physical damage claims for vehicles that are owned outright or financed because

  sales tax is part of ACV under the Policies.

                                                 11.

         Defendants do not pay sales tax on first-party total loss PPA physical damage claims for

  leased vehicles in Florida.

                                                 12.

         Defendants’ failure to pay sales tax on first-party total loss PPA physical damage claims

  for leased vehicles violates the terms of Defendants’ Policies (contracts) with Plaintiffs.

                                                 13.

         All covered vehicles are defined as an “owned auto” under the Policies.

                                                 14.

         Sales tax will necessarily be incurred as part of the replacement cost of the auto for all

  leased (as well as owned and financed) vehicles, and thus, sales tax is covered under the Policies’

  definition of ACV.

                                                 15.

         Under Flordia law, title transfer fees are mandatory fees involved with the replacement of

  the auto for all leased (as well as owned and financed) vehicles, and, thus, part of the replacement

  cost of a leased vehicle.

                                                 16.

         Defendants do not pay title transfer fees on first-party total loss claims involving leased

  vehicles in Florida.




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                                                17.

         Defendants’ failure to pay title transfer fees violates Defendants’ Policies (contracts) with

  Plaintiffs and applicable state law.

                                                18.

         This lawsuit is brought on behalf of (1) Plaintiffs Joffe, Schertzer, and Rodriguez, and a

  Monetary Relief Class of class members who were not paid sales tax and title transfer fees on their

  covered leased vehicle first-party total loss claims; and (2) Plaintiffs Joffe, Schertzer, and

  Rodriguez, and an Injunctive Class of class members who are insureds under PPA physical damage

  polices for leased vehicles.

                                 II.     JURISDICTION AND VENUE

                                                19.

         This Court has subject matter jurisdiction over all of Plaintiffs’ claims pursuant to 28

  U.S.C. § 1332(d)(2). This is a class action in which the matter in controversy exceeds the sum of

  $5,000,000.00, exclusive of interest and costs. Plaintiffs are Florida citizens and Defendants are

  citizens of a state different from Plaintiffs. There are more than 100 members of the Florida Class

  sought to be certified.

                                                20.

         Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

                                         III.   THE PARTIES

     A. Named Plaintiffs

                                                21.

         Plaintiff Joffe is an adult who, at all relevant times, resided in and was domiciled in

  Broward County, Florida, with an intent to stay. Plaintiff Joffe is a citizen of Florida. Plaintiff


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  Joffe’s individual claims in this lawsuit arise from a policy of insurance issued by GEICO

  Indemnity.

                                                 22.

         Plaintiff Schertzer is an adult who, at all relevant times, resided in and was domiciled in

  Collier County, Florida, with an intent to stay. Plaintiff Schertzer is a citizen of Florida. Plaintiff

  Schertzer’s individual claims arise from a policy of insurance issued by Government Employees

  Insurance Company.

                                                 23.

         Plaintiff Rodriguez is an adult who, at all relevant times, resided in and was domiciled in

  Miami-Dade County, Florida, with an intent to stay. Plaintiff Rodriguez is a citizen of Florida.

  Plaintiff Rodriguez’s individual claims arise from a policy of insurance issued by GEICO General.

                                                 24.

     B. Geico Indemnity

         Defendant GEICO Indemnity is an insurance company incorporated in Maryland. Its

  principal place of business is 5260 Western Avenue, Chevy Chase, MD, 20815. Its Florida

  registered agent is Chief Financial Officer, 200 East Gaines Street, Tallahassee, Florida, 32399.

                                                 25.

         GEICO Indemnity is the fourth largest PPA insurer in Florida, with total annual Florida

  premiums of over $1,141,172,170. (See Florida Office of Insurance 2017 Annual Report, attached

  as Exhibit C.)




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                                               26.

     C. Government Employees Insurance Company

         Defendant Government Employees Insurance Company is an insurance company

  incorporated in Maryland. Its principal place of business is 5260 Western Avenue, Chevy Chase,

  MD, 20815. Its Florida registered agent is Chief Financial Officer, 200 East Gaines Street,

  Tallahassee, Florida, 32399.

                                               27.

         Government Employees Insurance Company is the seventh largest PPA insurer in Florida,

  with total annual premiums of over $599,829,400. (See Florida Office of Insurance 2017 Annual

  Report.)

     D. GEICO General

                                               28.

         Defendant GEICO General is an insurance company incorporated in Maryland.                Its

  principal place of business is 5260 Western Avenue, Chevy Chase, MD, 20815. Its Florida

  registered agent is Chief Financial Officer, 200 East Gaines Street, Tallahassee, Florida, 32399.

                                               29.

         GEICO General is the second largest PPA insurer in Florida, with total annual premiums

  of over $2,211,145,214. (See Florida Office of Insurance 2017 Annual Report.)

                                               30.

       E.    Corporate affiliations

         Defendants Government Employees Insurance Company, GEICO Indemnity, and GEICO

  General are all affiliated corporate entities. Defendants, along with other affiliated companies,

  market collectively under the GEICO trademark and brand. (See GEICO, Corporate Information,


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  Links and Resources https://www.geico.com/about/corporate/corporate-ownership/ (last visited

  6/15/2018).)

                                                31.

             Government Employees Insurance Company is sometimes referred to as GEICO.

  However, for purposes of clarity, the term GEICO will be used to reference all of the companies

  that market collectively under the GEICO trademark and brand. (Id.)          GEICO is an indirect,

  wholly owned subsidiary of Berkshire Hathaway, Inc. (Id.)

                                                32.

             GEICO affiliated insurance companies consist of Government Employees Insurance

  Company, GEICO General Insurance Company, GEICO Indemnity Company, GEICO Casualty

  Company, GEICO Advantage Insurance Company, GEICO Choice Insurance Company, GEICO

  Secure Insurance Company, GEICO County Mutual Insurance Company and GEICO Marine

  Insurance Company. (See Berkshire Hathaway, Inc. 2017 Annual Report, at 34, attached as

  Exhibit D.) These companies offer primarily PPA insurance to individuals in all 50 states and the

  District of Columbia. (Id.)

                                                33.

             GEICO companies are private companies that do not provide separate financial results.

  GEICO wrote $30.5 billion in PPA premiums in 2017 (including GEICO Indemnity, Government

  Employees Insurance Company, and GEICO General) and $26.3 billion in premiums in 2016. (See

  Berkshire Hathaway, Inc. 2017 Annual Report, at 66.) GEICO has assets of more than $32 billion

  dollars.           (See     Geico,    Corporate      Information,    Links      and     Resources

  https://www.geico.com/about/corporate/financial-strength/ (last visited 6/15/2018).)




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                                              34.

         In 2017, GEICO reported that it had increased its voluntary policies in force by 41% over

  the prior five years. (See Berkshire Hathaway, Inc. 2017 Annual Report, at 35.)

                               IV.    FACTUAL ALLEGATIONS

     A. Plaintiffs Were Issued Form A-30FL (03-11) or A-70FL (03-11) Policies.

                                              35.

         Plaintiff Joffe entered a policy agreement to be insured by GEICO Indemnity under policy

  form A-30FL (03-11) or A-70FL( 03-11) which was in full force and effect on September 6, 2016.

  The Policy provided physical damage coverage for her leased 2016 Kia Optima Hybrid, VIN

  KNAGM4ADXG5093017 (the “Joffe Insured Vehicle”).

                                              36.

         Plaintiff Schertzer entered a policy agreement to be insured by Government Employees

  Insurance Company under policy form A-30FL (03-11) with a policy period of July 8, 2014,

  through December 18, 2014. The policy provided physical damage coverage for her leased Mazda

  MX-5 Miata, VIN JMINC2LFXC0226706 (the “Schertzer Insured Vehicle”).

                                              37.

         Plaintiff Rodriguez entered a policy agreement to be insured by GEICO General under

  policy form A-30FL (03-11) with a policy period of June 30, 2017, through December 30, 2017.

  The policy provided physical damage coverage for her leased Volkswagen Jetta, VIN

  3VWd07AJXFM212991 (the “Rodriguez Insured Vehicle”).

                                              38.

         Upon information and belief, Defendants have issued Florida PPA physical damage

  policies under policy form A-30FL (03-11) and policy form A-70FL (03-11) since August 2011.


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                                                     39.

             Policy forms A-30FL (03-11) and A-70FL (03-11) have identical material terms relating

   to the PPA physical damage coverages at issue here.

         B. The Policies Required Defendants to Pay the Replacement Cost of the Totaled
            Automobile on Total Loss Claims.

                                                     40.

             The Policies provided comprehensive and collision coverage with a coverage limit of ACV.

                                                     41.

             The Policies define ACV as follows:

                  1. Actual cash value is the replacement cost of the auto or property less
                     depreciation or betterment.
                        a. Betterment is improvement of the auto or property to a value greater
                            than its pre-loss condition.
                        b. Depreciation means a decrease or loss in value to the auto or
                            property because of use, disuse, physical wear and tear, age,
                            outdatedness, or other causes.

   (Ex. A, Policy form at 12; Ex. B, Policy form at 13.)1

                                                     42.

             The Policies provide as follows relating to PPA physical damage comprehensive and

   collision coverage:

             A.      Comprehensive Coverage (excluding collision).

                  1. We will pay for each loss, less the applicable deductible, caused other than
                     by collision to the owned or non-owned auto. This includes glass breakage.
                     No deductible will apply to loss to windshield glass.
                     At the option of the insured, breakage of glass caused by collision may be
                     paid under the Collision coverage, if included in the policy.
                  2. We will pay, up to $200 per occurrence, less the applicable deductible, for
                     loss to personal effects due to:
                     a) Fire;
                     b) Lightning;

   1
       All bold and/or italics are in the original Policy.

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                  c) Flood;
                  d) Falling objects;
                  e) Earthquake;
                  f) Explosion; or
                  g) Theft of the entire automobile.
                  The property must be owned by you or a relative, and must be in or upon
                  an owned auto.
               3. Losses arising out of a single occurrence shall be subject to no more than
                  one deductible.

          B.      Collision Coverage.

               1. We will pay for collision loss to the owned auto for the amount of each loss
                  less the applicable deductible and to the non-owned auto for the amount of
                  each loss less the applicable deductible when driven by you or a relative.
               2. We will pay up to $200 per occurrence, less the applicable deductible, for
                  loss to personal effects due to a collision. The property must be owned by
                  you or a relative, and must be in or upon an owned auto.
               3. Losses involving one owned auto, arising out of a single occurrence shall
                  be subject to no more than one deductible.
               4. If more than one owned auto or non-owned auto is involved in a collision
                  loss, any deductible will apply separately to each owned auto or non-owned
                  auto.

   (Exhibit A at 13-14; Exhibit B at 14.)

                                                 43.

          The Policies define Loss as follows:

          1.   Loss means direct and accidental loss of or damage to:

               a) An owned or non-owned auto, including its equipment; or
               b) Other property insured under this section.

   (Exhibit A at 13; Exhibit B at 14.) The Policies’ definition of Loss applies to both collision and

   comprehensive coverage.

                                                 44.

          There is no difference, for purposes of the duty to pay ACV on a first-party total loss claim,

   between a collision total loss claim and a comprehensive total loss claim.




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                                                 45.

          The Policies provide the following limit of liability for PPA physical damage coverage:

          LIMIT OF LIABILITY

          The limit of our liability for loss:
          1.      Is the actual cash value of the property at the time of the loss;
          2.      Will not exceed the prevailing competitive price to repair or replace the
                  property at the time of loss, or any of its parts, including parts from non-
                  original equipment manufacturers, with other of like kind and quality and
                  will not include compensation for any diminution of value that is claimed
                  to result from the loss. Although you have the right to choose any repair
                  facility or location, the limit of liability for repair or replacement of such
                  property is the prevailing competitive price which is the price we can secure
                  from a competent and conveniently located repair facility. At your request,
                  we will identify a repair facility that will perform the repairs or replacement
                  at the prevailing competitive price;
          3.      To personal effects arising out of one occurrence is $200;
          4.      To a trailer not owned by you is $500;
          5.      For custom parts or equipment is limited to the actual cash value of the
                  custom parts or equipment, not to exceed the actual cash value of the
                  vehicle.
          Actual cash value or betterment of property will be determined at the time of the
          loss and will include an adjustment for depreciation/betterment and for the
          physical condition of the property.

          6.      If this policy covers two or more autos or trailers any deductibles will apply
                  separately to each.

   (Exhibit A at 14-15; Exhibit B at 15.)

                                                 46.

          The Policy defines owned, financed, and leased vehicles as owned vehicles. Specifically,

   the Physical Damage section of the polices defines “Owned Auto” as follows: “Any vehicle

   described in this policy for which a specific premium charge indicates there is physical damage

   coverage.” (Exhibit A at 3, 12; Exhibit B at 3, 13.)




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                                                   47.

           The Plaintiff’s leased vehicles were all described under their Policies and had specific

   premiums charged indicating there was physical damage coverage.

       C. The Replacement Cost For A Total Loss Vehicle Includes Applicable Sales Tax and
          Title Transfer Fees.

                                                   48.

           The Policies define ACV as “replacement cost of the auto or property less depreciation or

   betterment.” (Ex. A, Policy form at 12; Ex. B, Policy form 13.) Sales tax and title transfer fees

   are each mandatory applicable fees that must be paid with the replacement of any vehicle under

   Florida law.

                                                   49.

           Florida law requires that a minimum of 6% sales tax be paid on every motor vehicle

   purchased, with the option for counties to charge an additional local tax of up to 2% on the first

   $5,000 of the motor vehicle cost.

                                                   50.

           Florida law requires that all vehicles operated on state roadways have the title of the vehicle

   registered with the State. See, e.g., Fla. Stat. Ann. § 320.02 (“every owner or person in charge of

   a motor vehicle that is operated or driven on the roads of this state shall register the vehicle in this

   state.”). The cost in Florida to transfer title to a purchased replacement vehicle is a minimum of

   $75.25.

                                                   51.

           As a consequence, under Florida law, an insured vehicle cannot be replaced without

   payment of applicable sales tax and title transfer fees. These costs are, quite literally, part of the

   replacement cost of all totaled vehicles.

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                                                   52.

           Florida law provides that sales tax is a part of actual cash value (and replacement cost)

   unless unambiguously excluded from the insurance policy. Mills v. Foremost Ins. Co., 511 F.3d

   1300, 1305 (11th Cir. 2008) (applying Florida law and holding that ACV includes sales tax because

   sales tax was not unambiguously excluded from policy definition); see also Bastian v. USAA et al,

   150 F. Supp. 3d 1284 (M.D. Fla. 2015) (same).

       D. GEICO Tells the Public That It Pays Sales Tax and Title Fees on Total Loss Claims.

                                                   53.

           GEICO maintains a Claims Center and claims information website for the purpose of

   informing insureds of their rights when they suffer a total loss. Through this website, GEICO and

   its affiliates, including GEICO Indemnity, Government Employees Insurance Company, and

   GEICO General made, and continue to make, false statements about coverage for sales tax and

   title fees on total losses to the general public.

                                                   54.

           In the GEICO Claims Center website publication, “Car Is Totaled: Learn About The Total

   Loss Process” (www.geico.com/claims/claimsprocess/total-loss-process/) (last visited 6/15/18),

   GEICO states: “If your policy covers a total loss, GEICO will: pay the actual cash value of the

   vehicle (plus applicable state fees and taxes) less any deductible.”

                                                   55.

           Sales tax and title transfer fees are “applicable” to the replacement of any Florida vehicle

   because a vehicle cannot be replaced without payment of sales tax and title transfer fees.

                                                   56.

           Contrary to the statement on its website, GEICO, including its affiliates GEICO Indemnity,


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   Government Employees Insurance Company, and GEICO General, does not pay sales tax and title

   fees to its total loss insureds in the State of Florida for an insured leased vehicle.

       E. Plaintiff Joffe Suffered a Total Loss and Was Not Paid Full Sales Tax and Title Fees
          As Required by the Policy and State Law.

                                                   57.

           On or about September 13, 2016, Plaintiff Joffe’s Insured Vehicle was involved in a

   collision that rendered the vehicle a total loss.

                                                   58.

           Plaintiff Joffe was entitled to recovery of ACV for her total loss under the Policy with

   GEICO Indemnity.

                                                   59.

           GEICO Indemnity, through its adjuster Frank Roese issued a Total Loss Settlement

   Explanation indicating the Joffe Insured Vehicle was a total loss. (Ex. E, Joffe Total Loss

   Settlement Explanation.)

                                                   60.

           The Total Loss Settlement Explanation identifies the settlement calculations:

                           Base Value                                      $24,249.00
                           Condition Adjustment                            $00.00
                           Pre Tax Adjustment                              $0.00
                           Tax                                             $0.00
                           Total Value                                     $24,249.00
                           State and Local Regulatory Fees                 $0.00
                           Post Tax Adjustment                             $0.00
                           Less Deductible                                 $500.00
                           Less Percent Negligent       0%                 $0.00
                           Less Retention Amount                           $0.00
                           Net Settlement Amount                           $23,749.00
                           Towing Charges                                  $0.00
                           Storage Charges                                 $0.00

   (Ex. E, Joffe Total Loss Settlement Explanation.)

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                                                  61.

          As shown by the Settlement Explanation, GEICO Indemnity did not pay sales tax on the

   total loss vehicle, nor did it pay any State and Local Regulatory Fees, such as title transfer fees.

                                                  62.

          GEICO Indemnity thus failed to pay the full ACV on Plaintiff Joffe’s claim.

                                                  63.

          Plaintiff Joffe has been damaged in the minimum amount of $1,530.19 ($1,454.94 sales

   tax and $75.25, at minimum, in title transfer fees) by GEICO Indemnity’s failure to pay these

   replacement costs on her total loss as required by the Policy.

      F. Plaintiff Schertzer Suffered a Total Loss and Was Not Paid Sales Tax and Title Fees
         As Required by the Policy and State Law.

                                                  64.

          On or about September 10, 2017, Plaintiff Schertzer suffered a total loss to the 2012 Mazda

   MX-5 Miata insured under her policy.

                                                  65.

          Plaintiff Schertzer was entitled to recovery of ACV for the total loss under her Policy with

   Government Employees Insurance Company.

                                                  66.

          Government Employees Insurance Company had a market evaluation report prepared by

   its vendor, CCC One, and that valuation summary provided as follows:

                  Base Value                                     $ 17,867.00
                  Condition Adjustment                           $ 720.00
                  Adjusted Vehicle Value                         $ 18,587.00
                  Vehicular Sales Tax 6.00%                      $ 1,115.22
                  Sales Tax reflects all applicable state, county and municipal taxes
                  License/Fees (if applicable)                   $ ________
                  Value before Deductible                        $ 19,702.22

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                 Deductible                                    $ -500.00
                 Total                                         $ 19,202.22

   (Ex. F, CCC One Market Valuation Summary for Schertzer.)

                                                67.

          Upon information and belief, Government Employees Insurance Company issued only a

   single payment to Chase Auto Finance in the amount of $18,087.00. Government Employees

   Insurance Company did not make any payment for sales tax or title transfer fees.

   (Ex. G, November 8, 2017 letter from GEICO employee Amber Floyd.)

                                                68.

          Government Employees Insurance Company thus failed to pay the full ACV on the claim.

                                                69.

          Plaintiff Schertzer has been damaged in the minimum amount of $1,190.47 ($1,115.22

   sales tax and $75.25, at minimum, in title transfer fees) by Government Employees Insurance

   Company’s failure to pay these replacement costs.

      G. Plaintiff Rodriguez Suffered a Total Loss and Was Not Paid Sales Tax and Title Fees
         As Required by the Policy and State Law.

                                                70.


          On or about September 5, 2017, Plaintiff Rodriguez suffered a total loss to the 2015

   Volkswagen Jetta insured under her policy.

                                                71.

          Plaintiff Rodriguez was entitled to recovery of ACV for the total loss under her Policy with

   GEICO General.




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                                               72.

          GEICO General had a market evaluation report prepared by its vendor, CCC One, which

   provides the following valuation summary:

                 Base Value                                   $ 12,262.00
                 Condition Adjustment                         $ -433.20
                 Adjusted Vehicle Value                       $ 11,828.80
                 Value before Deductible                      $ 11,828.80
                 Deductible                                   $ -500.00
                 Total                                        $ 11,328.80

   (Ex. H, CCC One Market Valuation Summary for Rodriguez.)

                                               73.

          Upon information and belief, GEICO General paid only $11,328.80 on the total loss claim.

   GEICO General did not make any payment for sales tax or title transfer fees.

                                               74.

          GEICO General thus failed to pay the full ACV on the claim. Plaintiff Rodriguez has been

   damaged in the minimum amount of $784.98 ($709.73 sales tax and $75.25, at minimum, in title

   transfer fees) by GEICO General’s failure to pay these replacement costs.

                          V.     JURISDICTIONAL AMOUNT IS MET

                                               75.

          The amount in controversy in this lawsuit exceeds $5 million for each of GEICO

   Indemnity, Government Employees Insurance Company, and GEICO General.

                                               76.

          GEICO publicly asserts that in the five year period from August 30, 2011 through August

   30, 2016, there were approximately 136,032 total loss claims made on Florida automobile policies

   issued by four GEICO entities (GEICO General Insurance Company, Government Employees

   Insurance Company, GEICO Indemnity Company and GEICO Casualty Company) resulting in

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   total loss claim payments of approximately $1,396,814,777. (See Roth v. GEICO General

   Insurance Company, Case No. 16-CV-62942-WPD, S.D. Fla., Doc. 1, Notice of Removal.)2 Of

   these 136,032 total loss claims, GEICO publicly maintains approximately 7.4 % are estimated to

   be leased vehicles. Id. This amounts to 10,066 total loss lease claims for that time period. On

   average, this amounts to 2,032 total loss lease claims per year through August 2016, under

   GEICO’s proposed conservative numbers.

                                                   77.

          Since August, 2016, GEICO’s written Florida PPA premium has increased by

   approximately 25 percent per year.3

                                                   78.

          GEICO estimated that the average total loss payment is $21,000 for the five year period

   through August, 2016. Id. GEICO estimated that, if damages accrued against the four collective

   GEICO entities based solely on failure to pay sales tax on all total loss leased vehicles, the damages

   for unpaid sales tax for the period August 30, 2011 to August 30, 2016 would be $13 million. Id.

                                                   79.

          GEICO’s asserted $13 million amount in controversy was based solely on an alleged failure

   to pay sales tax for the five-year period ending August 30, 2016. During this five year period, the

   average annual premium written in Florida was $2.7 billion for the Defendants. The average

   annual premium for the period June 15, 2013 through June 15, 2018 is $3.7 billion.4 Adjusting



   2
     Plaintiffs believes the number may be higher, but will use the numbers asserted by GEICO for
   the purposes of establishing jurisdiction before this Court.
   3
     Based on a compound annual growth rate calculated from the years 2011 through 2016.
   4
     This figure is based on projected premiums written for 2017 and 2018 using a calculated
   compound annual growth rate of 25% from 2011 through 2016. The year 2013 is multiplied by
   55% to correspond to start date of June 15, 2013 (200 days / 365 days = .55). The year 2018 is
   multiplied by 45% to correspond to end period of June 15, 2018 (165 days / 365 days = .45).
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   the $13 million amount in controversy to the increased premium written since August 30, 2016,

   the amount in controversy for the alleged failure to pay sales tax for the five years prior to June

   15, 2018 is $17.8 million.5

                                                   80.

          Florida Office of Insurance Regulation shows that the Defendants’ percentage of the total

   PPA insurance written in Florida are: 56% for GEICO General; 29% for GEICO Indemnity; and

   16% for Government Employees Insurance Company.

                                                   81.

          The amount in controversy against GEICO Indemnity for failure to pay sales tax for the

   period June 15, 2013 through the present is $5.16 million ($17.8 million x 29%). The amount in

   controversy for the injunctive relief for three years increases the amount in controversy to $13.35

   million.6 Thirty percent in attorneys’ fees increases the amount in controversy to $19.07 million.

                                                   82.

          The amount in controversy against Government Employees Insurance Company for failure

   to pay sales tax for the period June 15, 2013 through the present is $2.85 million ($17.8 million x

   16%). The amount in controversy for the injunctive relief for three years increases the amount in

   controversy $7.38 million.7 Thirty percent in attorneys’ fees increases the amount in controversy



   5
     $3.7 billion average annual premium divided by $2.7 billion results in a growth rate of 1.37. This
   amount is multiplied by the prior $13 million amount in controversy.
   6
     The average total premiums written for Defendants going forward is projected as $9.81 billion
   using the same 25% compound annual growth rate; or 2.65 times the $3.7 billion average annual
   premium for the period ending June 15, 2018. ($5.16 million in damages / 5 years = $1.03 million
   per year; $1.03 million X 2.65 growth X 3 years = $8.19 million). The injunctive relief sought
   would require GEICO Indemnity to pay $8.19 million in sales tax on leased vehicle total loss
   claims that it otherwise would not pay.
   7
     $2.85 million in damages / 5 years = $.57 million per year; $.57 million X 2.65 growth X 3 years
   = $4.53 million. The injunctive relief would require Government Employees Insurance Company
   to pay $4.53 million in sales tax on leased vehicle total loss claims that it otherwise would not pay.
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   to $10.54 million.

                                                   83.

          The amount in controversy against GEICO General for failure to pay sales tax for the

   period August 31, 2016 through the present requires a slightly different calculation. If the GEICO

   General claim in this lawsuit was for a five-year period, the amount in controversy for failure to

   pay sales tax would be $10 million ($17.8 million x 56%). But because the claim against GEICO

   General only goes back to August 31, 2016, the amount in controversy should be adjusted to

   account only for the estimated total loss claims during that period. During the period August 31,

   2016 through the present, GEICO General wrote 50% of the total premium that it had written for

   the previous five years.8,9 Allocating the amount in controversy to account only for this percentage

   of premium results in an amount in controversy for GEICO General of over $5 million. The amount

   in controversy for the injunctive relief for three years increases the amount in controversy to $24.88

   million.10 Thirty percent in attorneys’ fees increases the amount in controversy to $35.54 million.

                                                    84.

          The above claims are conservative and do not account for the amount in controversy




   8
      During the period August 31, 2016 through present period, GEICO General wrote $5.05 billion
   in premiums. During the five-year period ending June 15, 2018, GEICO General wrote $10.12
   billion in premiums.
   9
      The 2016 premiums written is adjusted for only the last third of the year (Aug. 31 through Dec.
   31). Premiums written for 2017 and 2018 estimated using the 25% compound annual growth rate.
   10
      $5 million in damages / 2 years = $2.5 million per year; $2.5 million X 2.65 growth X 3 years
   = $19.88 million. The injunctive relief would require GEICO General to pay $19.88 million in
   sales tax on total loss leased vehicle claims that it otherwise would not pay.
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   relating to Defendants’ failure to pay title transfer fees.

                               VI.      CLASS ACTION ALLEGATIONS

       A. The Monetary Relief Class.
                                                   85.

           Pursuant to Fed. R. Civ. P. 23, Plaintiffs assert claims for breach of contract on behalf of a

   Florida Monetary Relief Class (“Monetary Relief Class”), as defined as follows:

           All persons insured by Defendant Government Employees Insurance Company,
           Defendant GEICO Indemnity Company, or Defendant GEICO General Insurance
           Company under a Florida insurance policy for private passenger auto (“PPA”)
           physical damage coverage who suffered a first-party total loss of a covered leased
           vehicle (1) at any time during the five years prior to the filing of this lawsuit up to
           the date of any order granting class certification (as to Defendant Government
           Employees Insurance Company and Defendant GEICO Indemnity Company), and
           (2) at any time from August 31, 2016 up to the date of any order granting class
           certification (as to Defendant GEICO General Insurance Company), whose claims
           were adjusted by one of the Defendants as total loss claims, whose claims resulted
           in payment by one of the Defendants of covered claims, and who were not paid the
           full total loss vehicle value (“TLVV”) sales tax and/or title fees.

           Excluded from the Monetary Relief Class are all officers and employees of GEICO,

   GEICO Indemnity, Government Employees Insurance Company, GEICO General, and all of their

   affiliates, parents, and subsidiaries; all persons who make a timely election to be excluded from

   the Class; government entities; and the judges to whom this case is assigned and their immediate

   family and court staff.

                                                    86.

           The Monetary Relief Class meets the criteria for class certification under Fed. R. Civ. P.

   23(a), (b)(1), (b)(3), and (c)(4).




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                                          Fed. R. Civ. P. 23(a).

                                                   87.

          Numerosity. The members of the Monetary Relief Class are so numerous that separate

   joinder of each member is impracticable. Fed. R. Civ. P. 23(a)(1). GEICO Indemnity is the fourth

   largest PPA insurer in the state of Florida, collecting over $1.14 billion in premiums in 2016.

   Government Employees Insurance Company is the seventh largest PPA insurer in the state of

   Florida, collecting over $599 million in premiums in 2016. GEICO General is the second largest

   PPA insurer in the state of Florida, collecting over $2.2 billion in premiums in 2016.      Upon

   information and belief, there are over 5,000 members of the Monetary Relief Class.

                                                   88.

          The members of the Monetary Relief Class are ascertainable and readily identifiable from

   information and records in Defendants’ possession, control, or custody. Upon information and

   belief, GEICO Indemnity, Government Employees Insurance Company, and GEICO General

   maintain records of all total loss claims made by its insureds and paid by the Defendants. These

   records include data that itemizes what categories of costs were and were not paid as part of ACV.

   These categories include sales tax and title transfer fees.

                                                   89.

          Commonality. Common questions of law and fact exist and predominate over any

   question affecting only individual Monetary Relief Class Members. Fed. R. Civ. P. 23(a)(2).

   Because the central issues in this case turn on the interpretation of materially identical policy

   provisions, this case is especially well-suited to class adjudication. Defendants and all members

   of the Monetary Relief Class are bound by the same material terms of policy forms A-30FL and

   A-70FL, and the central issues in the case all involve interpretation of the same material and


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   controlling terms. The common questions include:

           a. Whether Policy language “actual cash value,” defined as the “replacement cost for an

               auto,” includes sales tax;

           b. Whether Policy language “actual cash value,” defined as the “replacement cost for an

               auto,” includes title transfer fees;

           c. Whether Defendants are required under the Policy to pay full sales tax to first-party

               total loss claimants on leased vehicles; and

           d. Whether Defendants are required under the Policy to pay full title transfer fees to first-

               party total loss claimants on leased vehicles.

                                                      90.

           Typicality. Plaintiffs’ claims and defenses are typical of the claims of the Monetary Relief

   Class. Fed. R. Civ. P. 23(a)(3). Plaintiffs and Monetary Relief Class Members were injured

   through GEICO Indemnity’s, Government Employee Insurance Company’s, and GEICO

   General’s uniform misconduct and their legal claims arise from the same core GEICO practices,

   namely, the failure to pay full ACV, including sales tax and title transfer fees, for first-party total

   loss leased vehicle claims. Plaintiffs’ claims are based upon the same legal theories as those of

   the Monetary Relief Class Members. The Plaintiffs suffered the same harm as all the other

   Monetary Relief Class Members: the coverage for sales tax and title transfer fees that Defendants

   failed to pay its insureds.

                                                      91.

           Adequacy. Plaintiffs are adequate representatives of the proposed class because their

   interests do not conflict with the interests of the Monetary Relief Class Members they seek to

   represent, and Plaintiffs will fairly and adequately protect the interests of the Monetary Relief


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   Class. Fed. R. Civ. P. 23(a)(4). Plaintiffs’ counsel are experienced in litigating consumer class

   actions and complex disputes, and have specific experience successfully litigating similar disputes

   as class counsel. Plaintiffs’ counsel do not have any conflict with the interests of the class.

                                                   92.

          Superiority. A class action is superior to all other available methods of fairly and

   efficiently adjudicating this dispute. The injury sustained by each Monetary Relief Class Member,

   while meaningful on an individual basis, is not of such magnitude that it is economically feasible

   to prosecute individual actions against GEICO Indemnity, Government Employees Insurance

   Company, and GEICO General. Even if it were economically feasible, requiring thousands of

   injured plaintiffs to file individual suits would impose an undue burden on the court system and

   almost certainly lead to inconsistent judgments. By contrast, class treatment will present far fewer

   management difficulties and provide the benefits of a single adjudication, economies of scale, and

   comprehensive supervision by a single court.

                                        Fed. R. Civ. P. 23(b)(1).

                                                   93.

          Plaintiffs’ claims are maintainable on behalf of the Monetary Relief Class pursuant to Fed.

   R. Civ. P. 23(b)(1) because the prosecution of separate claims or defenses by or against individual

   Monetary Relief Class Members would create a risk of: (A) inconsistent or varying adjudications

   with respect to individual Monetary Relief Class Members that would establish incompatible

   standards of conduct for the party opposing the Class; and (B) adjudications with respect to

   individual Monetary Relief Class Members that, as a practical matter, would be dispositive of the

   interests of other Monetary Relief Class Members who are not parties to the adjudications, or




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   would substantially impair or impede their ability to protect their interests.

                                                   94.

          The relevant Policy provisions for each Monetary Relief Class Member are the same. The

   relevant law relating to the interpretation and application of those Policy provisions for each

   Monetary Relief Class Member is the same. There is the potential for inconsistent or varying

   adjudications concerning individual Monetary Relief Class Members.                Without a single

   adjudication as to the application of relevant law to the relevant policy provisions, different courts

   may reach different conclusions relating to the same legal and factual issues.

                                                   95.

          Allowing the issues to be adjudicated in a piecemeal fashion likely would result in certain

   Monetary Relief Class Members who are not parties to individual adjudications having their rights

   impaired or impeded without notice or adequate representation.

                                        Fed. R. Civ. P. 23(b)(3).

                                                   96.

          There are questions of law and fact common to the Monetary Relief Class that under Fed.

   R. Civ P. 23(b)(3) predominate over any questions solely affecting individual members of the

   Monetary Relief Class, including but not limited to those common questions of law and fact

   identified in paragraph 89. A class action is superior to other available methods for fairly and

   efficiently adjudicating the controversy for the reasons identified in paragraph 92.

                                         Fed. R. Civ. P. 23(c)(4).

                                                   97.

          Particular issues under Rule 23(c)(4) are appropriate for certification because such claims

   present only particular, common issues, the resolution of which would advance the disposition of


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   this matter and the parties’ interests therein. Such particular issues include, but are not limited to,

   the same issues identified in paragraph 89.

      B. The Injunctive Relief Class.

                                                    98.

          Pursuant to Fed. R. Civ. P. 23, Plaintiffs seek injunctive relief on behalf of a Florida

   Injunctive Relief Class (“Injunctive Relief Class”), as defined as follows:

          All persons insured by Defendant Government Employees Insurance Company,
          Defendant GEICO Indemnity Company, or Defendant GEICO General Insurance
          Company under Florida insurance policy form A-30FL (03-11) or form A-70 FL
          (03-11) for private passenger auto (“PPA”) physical damage coverage for a leased
          vehicle.

                                                    99.

          Excluded from the Injunctive Relief Class are all officers and employees of GEICO,

   GEICO Indemnity, Government Employees Insurance Company, GEICO General and all of their

   affiliates, parents, and subsidiaries; all persons who make a timely election to be excluded from

   the Class; government entities; and the judges to whom this case is assigned and their immediate

   family and court staff.

                                                    100.

          The Injunctive Relief Class meets the criteria for certification under Fed. R. Civ. P. 23(a),

   and (b)(2).




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                                           Fed. R. Civ. P. 23(a).

                                                     101.

          Numerosity. The members of the Injunctive Relief Class are so numerous that separate

   joinder of each member is impracticable. Fed. R. Civ. P. 23(a)(1). Upon information and belief,

   there are over 5,000 members of the Injunctive Relief Class.

                                                     102.

          Commonality. Common questions of law and fact exist and predominate over any

   question affecting only individual Injunctive Relief Class Members. Fed. R. Civ. P. 23(a)(2).

   Because the central issues in this case turn on the interpretation of identical policy provisions, this

   case is especially well-suited to class adjudication. Defendant and all members of the Injunctive

   Relief Class are bound by the same material terms of policy forms A-30FL and A-70FL, and the

   central issues in the case all involve interpretation of the same material and controlling terms. The

   common questions include:

          a. Whether Policy language “actual cash value,” defined as the “replacement cost for an

              auto,” includes sales tax;

          b. Whether Policy language “actual cash value,” defined as the “replacement cost for an

              auto,” includes title transfer fees;

          c. Whether Defendants are required under the Policy to pay full sales tax to first-party

              total loss claimants on leased vehicles; and

          d. Whether Defendants are required under the Policy to pay full title transfer fees to first-

              party total loss claimants on leased vehicles.




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                                                   103.

          Typicality. Plaintiffs’ claims and defenses are typical of the claims of the Injunctive Relief

   Class. Fed. R. Civ. P. 23(a)(3). Plaintiffs and Injunctive Relief Class Members have insurance

   Policies with identical material terms. Plaintiffs’ injunctive relief claims are based upon the same

   legal theories as those of the Injunctive Relief Class Members.

                                                   104.

          Adequacy. Plaintiffs are adequate representatives of the proposed class because their

   interests do not conflict with the interests of the Injunctive Relief Class Members they seek to

   represent, and Plaintiffs will fairly and adequately protect the interests of the Injunctive Relief

   Class. Fed. R. Civ. P. 23(a)(4). Plaintiffs’ counsel are experienced in litigating consumer class

   actions and complex disputes, and have specific experience successfully litigating similar disputes

   as class counsel. Plaintiffs’ counsel do not have any conflict with the interests of the class.

                                                   105.

          Superiority. A class action is superior to all other available methods of fairly and

   efficiently adjudicating this dispute. This liability issue will be contested by Defendants, and is of

   such importance for so many class members that it is not economically feasible to prosecute

   individual actions against GEICO Indemnity, Government Employees Insurance Company, or

   GEICO General.

                                        Fed. R. Civ. P. 23(b)(2).

                                                   106.

          Plaintiffs’ claims also are maintainable on behalf of the Injunctive Relief Class pursuant to

   Fed. R. Civ. P. 23(b)(2) because Defendants have acted, and refused to act, on grounds that apply

   generally to all the Injunctive Relief Class Members, thereby making final injunctive relief


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   appropriate with respect to the Injunctive Relief Class as a whole. Defendants have created and

   implemented a uniform claims handling practice based on policy language that is applicable to all

   Injunctive Relief Class Members. Defendants’ practice of failing to pay full ACV, including sales

   tax and title transfer fees, for first-party total loss claims where the total loss leased vehicle claims

   applies generally to all Injunctive Relief Class Members and is ongoing.

                                                    107.

           Defendants’ breach of Policy provisions requiring them to pay full ACV on total loss

   claims is a continuing breach and violation of Policy terms. Injunctive relief is necessary to stop

   these repeat and continued violations, which are likely to continue, repeat, and cause damages to

   Plaintiffs and the Injunctive Relief Class in the future.

                                             VII.    COUNTS

                                      Count 1 – Breach of Contract

                                                  108.
           Plaintiffs Joffe, Schertzer, and Rodriguez incorporate by reference all allegations of all

   prior paragraphs as though fully set forth herein.

                                                    109.

           This Count is brought by Plaintiffs on behalf of themselves and class members against all

   Defendants.

                                                    110.

           Plaintiffs were parties to an insurance contract with Defendants.

                                                    111.

           Each Class Member was a party to PPA insurance contract with a Defendant under Policy

   Form A-30FL (03-11)) or Policy form A-70 FL (03-11).




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                                                   112.

           The material provisions of Policy Form A-30(03-11) and Policy Form A-70 FL (03-11) are

   identical.

                                                   113.

           The interpretation of Plaintiffs and all Class Members’ insurance Policies is governed by

   Florida law.

                                                   114.

           Plaintiffs and each Class Member made a claim determined by Defendants to be a first-

   party total loss under their insurance contract, and determined by Defendants to be a covered claim.



           All Defendants, by paying the total loss claim, determined that each Plaintiff and each

   Class Member complied with the terms of their insurance contracts, and fulfilled all of their duties

   and conditions under the Policies for each Plaintiff to be paid on his or her total loss.

                                                   115.

           Plaintiffs and each Class Member’s insurance contract required all Defendants to pay full

   ACV, including sales tax and title transfer fees.

                                                   116.

           All Defendants refused to pay Plaintiffs and Class Members full ACV (including sales tax

   and title transfer fees), and in so doing Defendant breached its insurance contracts with Plaintiffs

   and each Class Member.

                                                   117.

           Plaintiffs and the Class Members have suffered monetary damages caused by all

   Defendants’ insurance contract breaches.


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                                       Count 2 –Attorneys’ Fees

                                                   118.

          Plaintiffs Joffe, Schertzer, and Rodriguez incorporate by reference all allegations of all

   prior paragraphs as though fully set forth herein.

                                                   119.

          Upon the rendition of a judgment or decree by this Court against Defendants and in favor

   of Plaintiffs or Class Members, applicable law (including Fla. Stat. § 627.428) requires that this

   Court shall adjudge or decree against Defendants and in favor of Plaintiffs and/or Class Members,

   a reasonable sum as attorneys’ fees, expenses, and costs for their attorneys prosecuting the suit in

   which the recovery is had.11

                                                   120.

          Such compensation or fees of the attorneys shall be included in the judgment or decree

   rendered in the case. See, e.g., Fla. Stat. § 627.428(3).

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs, individually and on behalf of the Classes, pray for relief and

   judgment as follows:

          A.      For an order certifying this action as a class action on behalf of the Classes

   described above;

          B.      For monetary damages in the amounts owed to Plaintiffs and Monetary Relief Class

   Members under the Policies;




   11
     See e.g., All Underwriters v. Weisberg, 222 F.3d 1309, 1315 (11th Cir. 2000), cert. denied. 531
   U.S. 1061 (2000) (holding that Fla. Stat. § 627.428 is substantive law for purposes of Erie and
   awarding attorneys’ fees pursuant to that provision).

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          C.      For injunctive relief on behalf of Injunctive Relief Class Members to prevent

   continuation of this illegal practice by Defendants, and for other injunctive relief as is proven

   appropriate in this matter;

          D.      For all other damages according to proof;

          E.      For an award of attorneys’ fees and expenses as appropriate pursuant to applicable

   law (including Fla. Stat. § 627.428);

          F.      For costs of suit herein incurred;

          G.      For both pre- and post-judgment interest on any amounts awarded; and

          H.      For such other and further relief as the Court may deem proper.

          Dated this 15th day of June, 2018.

                                                 /s/ Bradley W. Pratt
                                                 Georgia Bar No. 586672
                                                 Florida Bar No. 0094300
                                                 Pratt Clay, LLC
                                                 4401 Northside Parkway, Suite 520
                                                 Atlanta, Georgia 30327
                                                 Phone: (404) 949-8118
                                                 Facsimile: (404) 410-0563
                                                 bradley@prattclay.com

                                                 Trial Counsel

                                                 Tracy L. Markham
                                                 Florida Bar No. 0040126
                                                 Avolio & Hanlon, P.C.
                                                 2800 N 5th Street, Suite 302
                                                 St. Augustine, Florida 32084
                                                 Phone: (904) 794 7005
                                                 Facsimile: (904) 794 7007
                                                 tlm@avoliohanlonfl.com
                                                 tlmarkhamlaw@gmail.com

                                                 Andrew Lampros
                                                 Georgia Bar No. 432328
                                                 Motion to Appear Pro Hac Vice to be filed
                                                 Hall & Lampros, LLP

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                                     1230 Peachtree Street, NE, Suite 950
                                     Atlanta, GA 30309
                                     Phone: (404) 876-8100
                                     Facsimile: (404) 876-3477
                                     gordon@hallandlampros.com

                                     Edmund A. Normand
                                     Florida Bar No.: 0865590
                                     Jacob Phillips
                                     Florida Bar No.: 0120130
                                     Normand Law PLLC
                                     62 W. Colonial Drive, Suite 209
                                     Orlando, FL 32801
                                     Telephone: 407-603-6031
                                     Fax: 888-974-2175
                                     Ed@ednormand.com
                                     Firm@ednormand.com
                                     Jacob@ednormand.com

                                     Christopher J. Lynch
                                     Florida Bar No. 331041
                                     Christopher J. Lynch, P.A.
                                     6915 Red Road, Suite 208
                                     Coral Gables, Florida 33143
                                     Telephone: (305) 443-6200
                                     Fax: (305) 443-6204
                                     Clynch@hunterlynchlaw.com
                                     Lmartinez@hunterlynchaw.com

                                     Counsel for Plaintiffs




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